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UNITED STATES DISTRICT COURT DOC #: J /
SOUTHERN DISTRICT OF NEW YORK Jos
x DATE FILED: 13 2b |

MOUNT VERNON FIRE INSURANCE ~
COMPANY,
Plaintiff,
15 CIV 1184 (KBF)

-against-

DEFAULT JUDGMENT

STAR WARS TECHNOLOGY SYSTEMS, et al.,
Defendants.

x

Whereas as of March 1, 2016, Mount Vernon Fire Insurance Company (“Mount Vernon”)
having entered a stipulation of settlement and partial discontinuance with respect to all defendants
in this action other than Star Wars Technology Systems (‘Star Wars”); on April 6, 2016, this Court
having issued an Order directing Star Wars to show cause why default judgment should not be
entered against it and scheduled a hearing for May 4, 2016; Star Wars having failed to appear at the
May 4, 2016 hearing and not otherwise sought to defend itself at any point during this action, and
the matter having come before the Honorable Katherine B. Forrest, United States District J udge, and
the Court, on May 10, 2016 having issued its Memorandum Decision and Order granting Plaintiff
Mount Vernon Fire Insurance Company’s motion for default judgment in all respects, ordering that
plaintiff Mount Vernon Fine Insurance Company is not required to defend or indemnify defendant

Star Wars Technology Systems in the action captioned Mercedes T. Guillen, as Administrator of

the Estate of Elias Guillen, Deceased, and Mercedes T. Guillen, Individually v. 100 Church Street
Owner, LLC (“Guillen”), bearing index number 162612/2014, in the New York State Supreme

Court, New York Court, and directing the Clerk of Court to enter judgment in accordance with the

rulings set forth in the Memorandum Decision and Order, and to terminate this action, it is,

ORDERED, ADJUDGED, AND DECREED, That pursuant to the Court’s
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Memorandum Decision and Order dated May 10, 2016, Plaintiff Mount Vernon Fire Insurance
Company’s motion for a default judgment is granted in all respects; the Court orders that plaintiff

Mount Vernon Fire Insurance Company is not required to defend or indemnify defendant Star Wars

Technology Systems in the action captioned Mercedes T. Guillen, as Administrator of the Estate of

Elias Guillen, Deceased, and Mercedes T, Guillen, Individually v. 100 Church Street Owner, LLC

(‘Guillen’), bearing index number 162612/2014, in the New York State Supreme Court, New York
Court; accordingly, this action is terminated.

DATED : New York, New York
May 13, 2016

RUBY J. SRA )

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By:.< \

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Deputy (Gerke

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ON THE DOCKET ON

